     Case 1:18-cv-00719-CCR        Document 1-11      Filed 06/28/18     Page 1 of 1




                  ATTACHMENT TO JS-44/ CIVIL COVER SHEET

                     BLACK LOVE RESISTS IN THE RUST ET AL.
                                     V.
                         CITY OF BUFFALO, N.Y., ET AL
Attachment A: Plaintiffs
BLACK LOVE RESISTS IN THE RUST by and through its Co-Directors NATASHA SOTO
and SHAKETA REDDEN and on behalf of its members; DORETHEA FRANKLIN; TANIQUA
SIMMONS; DE’JON HALL; and JANE DOE, individually and on behalf of a class of all others
similarly situated.
Attachment B: Defendants
CITY OF BUFFALO, N.Y.; BYRON B. BROWN, Mayor of the City of Buffalo, in his
individual and official capacities; BYRON C. LOCKWOOD, Commissioner of the Buffalo
Police Department, in his individual and official capacities; DANIEL DERENDA, former
Commissioner of the Buffalo Police Department, in his individual capacity; AARON YOUNG,
KEVIN BRINKWORTH, PHILIP SERAFINI, ROBBIN THOMAS, UNKNOWN
SUPERVISORY PERSONNEL 1-10, UNKNOWN OFFICERS 1-20, each officers of the
Buffalo Police Department, in their individual capacities.
Attachment C: Attorneys
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WESTERN NEW YORK LAW CENTER
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